Case 2:04-cr-20175-.]PI\/| Document 50 Filed 07/15/05 Page 1 of 2

IN THE UNI'I'ED STATES DIS'I'RICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WES'I'ERN DIVISION
UNITED S'I`ATES OF AMERICA,
Plaintiff,
v.

ERIC AUSTIN,

Defendant.

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NO. 04-20175 Ml

 

ORDER CONTINUING SENTENCING

 

The Sentencing in this matter is hereby continued to Thursday,

October 20. 2005, at 9:00 a.m.

90 ORDERE:D this [\| day of July, 2005.

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J N PHIPPS MCCALLA

I'I`ED STATES DISTRICT JUDGE

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wlth Ru|e 55 and/or 32(b) FRCrP on 2 15 1251 __

 

   

UNITED S`TATE DRISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

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July ]5, 2005 tc the parties listed.

 

 

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Honcrable Jc)n McCalla
US DISTRICT COURT

